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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 EARL JOHNSON,

        Petitioner,

 v.                                                       Case No: 05-80025
                                                          Honorable Victoria A. Roberts
 UNITED STATES OF AMERICA,

      Respondent.
 _______________________________/


      ORDER DENYING MOTION TO RECONSIDER AND REOPEN PROCEEDINGS

        On March 13, 2017, Mr. Johnson filed the above entitled motion. (Doc. #926).

 He asks the Court to revisit its decision of December 8, 2016 (Doc. #916), denying his

 Motion to Vacate, Set Aside or Correct Sentence pursuant to 28 U.S.C. § 2255(a) (Doc.

 #910). In his original motion, Johnson challenged his federal convictions and sentences

 for (1) conspiracy to commit bank robbery, 18 U.S.C. § 371; (2) bank robbery resulting

 in death, 18 U.S.C. § 2113(a) and (e); and (3) murder with a firearm during a crime of

 violence, 18 U.S.C § 924(j).

        In denying his petition, the Court held that Johnson’s claims were time barred

 under 28 U.S.C. § 2255(f)(1), since his conviction became final on June 17, 2010, and

 he did not file his petition until July 1, 2016. The Court went on to say, however, that

 even if Johnson’s petition was timely, his argument that his § 924(j) conviction should

 be set aside as not being a crime of violence lacked merit in light of the Sixth Circuit’s

 decision in United States v. Taylor, 814 F.3d 340 (6th Cir. 2016).




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        Johnson’s charges arose from a December 12, 2001 robbery of an armored truck

 delivering cash to the Dearborn Federal Credit Union in Dearborn, Michigan. As two

 guards replenished the automated teller machines, several hooded men in masks

 approached and began shooting. One of the guards was killed, and the robbers left

 with $204,000 in cash and the deceased guard’s .38 caliber revolver.

        Even if his petition was timely, Johnson’s challenge is precluded by the Sixth

 Circuit’s decision in Taylor. In Taylor, the defendant was convicted under § 924(j). In

 urging reversal, Taylor argued the Supreme Court’s decision in Johnson v. United

 States, 135 S. Ct. 2551 (2015), compelled the conclusion that the residual clause of

 § 924(c)(3) was unconstitutionally vague because the language was substantially

 similar to the language of the residual clause invalidated in Johnson. The Taylor court

 declined to apply the reasoning in Johnson to invalidate the residual clause of

 § 924(c)(3); it found the definition of “crime of violence” under § 924(c)(3)(B) to be

 narrower than the definition of “violent felony” under the statute invalidated in Johnson.

 Taylor, 814 F.3d at 375-77. The Taylor Court specifically held that the analysis in

 Johnson does not apply to § 924(c)(3) convictions. Id. Unquestionably, Johnson’s

 particular crime was a crime of violence.

        Johnson’s § 924(c)(3) claim fails entirely.

        Further, in its December 8, 2016 decision, this Court held that Johnson’s

 ineffective assistance of counsel claim was time barred because it, too, was raised six

 years after his conviction became final, and Johnson cited nothing exceptional that

 would allow the claim to proceed.




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        In his motion to reconsider, Johnson says the Court erred by not giving him

 notice that his § 2255 petition was going to be dismissed as untimely. He relies on Fed.

 R. Civ. P. 60(b), which he says allows him to seek relief under a limited set of

 circumstances, including fraud, mistake, newly discovered evidence, or any other

 reason that justifies relief. While Johnson correctly states the rule, he provides no

 ground for relief, except to say that he believed Attorney Elizabeth Jacob was going to

 file a § 2255 motion on his behalf and she failed to do it.

        Johnson is incorrect that the Court was required to give him notice that his

 petition might be dismissed as untimely. Secondly, while the Court did say the petition

 was untimely, the Court went on to consider his § 924(j) argument on the merits.

 Finally, while the Court did not consider Johnson’s ineffective assistance of counsel

 claim on the merits, in this motion for reconsideration, Johnson offers no good reason

 why he himself waited six years after not hearing from Ms. Jacobs, to file his petition.

 Long before the expiration of six years, Johnson was required to exercise some

 diligence to present his claim. See McClendon v. Sherman, 329 F.3d 490, 495 (6th Cir.

 2003). And, as the Court stated in its December 8, 2016 Order:

               Johnson’s ineffective assistance of counsel claim is barred
               as untimely. It was raised six years after his conviction
               became final. Johnson asserts no ineffective assistance of
               counsel claim which fits any of the exceptions to the one-
               year statute of limitations in § 2255(f). He cites to no
               unlawful governmental impediments to his ineffective
               assistance of counsel claim, let alone an impediment
               removed within the year prior to his motion. Johnson relies
               on no retroactively applicable right to counsel newly
               recognized by the Supreme Court within the year prior to his
               filing. Finally, Johnson cites no new facts to support a claim
               of newly discovered evidence within the year prior to his
               filing.



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         Johnson fails to satisfy the requirements of Rule 60. He also fails to carry his

 burden under this Court’s local rule allowing it to reconsider decisions:

                 Generally, and without restricting the Court’s discretion, the
                 Court will not grant motions for rehearing or reconsideration
                 that merely present the same issues ruled upon by the
                 Court, either expressly or by reasonable implication. The
                 movant must not only demonstrate a palpable defect by
                 which the Court and the parties and other persons entitled
                 to be heard on the motion have been misled but also show
                 that correcting the defect will result in a different disposition
                 of the case.

 E.D. Mich. L.R. 7.1(h)(3).

         No part of Johnson’s motion satisfies the requirements of the Court’s local rule.

         The Motion is DENIED.

         IT IS ORDERED.

                                                  /s/ Victoria A. Roberts
                                                  Victoria A. Roberts
                                                  United States District Judge

 Dated: May 8, 2017

  The undersigned certifies that a copy of this
  document was served on the attorneys of
  record and Earl Johnson by electronic means
  or U.S. Mail on May 8, 2017.

  s/Linda Vertriest
  Deputy Clerk




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